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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-MJ-00050-EFB
12                                Plaintiff,             STIPULATION FOR EXTENSION OF TIME FOR
                                                         PRELIMINARY HEARING PURSUANT TO RULE
13                          v.                           5.1(D) AND EXCLUSION OF TIME AND
                                                         FINDINGS AND ORDER
14   JONATHAN WARD and
     MONICA NUNES,                                       DATE: May 3, 2019
15                                                       TIME: 2:00 p.m.
                                  Defendants.            COURT: Hon. Allison Claire
16

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18          Plaintiff United States of America, by and through its attorney of record, Special Assistant U.S.

19 Attorney ROBERT J. ARTUZ, and Defendant, Monica Nunes, both individually and by and through her

20 counsel of record, Christina Sinha, hereby stipulate as follows:

21          1.      The Complaint in this case was filed on April 4, 2019, and Defendant Monica Nunes first

22 appeared before a judicial officer of the Court in which the charges in this case were pending on April 5,

23 2019. On that date, the Court set a preliminary hearing date of May 3, 2019.

24          2.      By this stipulation, the parties jointly move for an extension of time of the preliminary

25 hearing date to May 31, 2019, at 2:00 p.m., before the duty Magistrate Judge, pursuant to Rule 5.1(d) of

26 the Federal Rules of Criminal Procedure. The parties stipulate that the delay is required to allow the

27 defense reasonable time for preparation, and for the government’s collection and production of

28 discovery and continuing investigation of the case. For example, the government is continuing to collect

      STIPULATION                                        1
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 1 and produce audio/video files, bank records, forensic data, witness statements, and police reports

 2 relevant to this case. Defense counsel needs additional time to review and consider this evidence and to

 3 conduct additional investigation. The parties further agree that the interests of justice served by granting

 4 this continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

 5 3161(h)(7)(A).

 6          3.      The parties agree that good cause exists for the extension of time, and that the extension

 7 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

 8 Therefore, the parties request that the time between May 3, 2019, and May 31, 2019, be excluded

 9 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

10          IT IS SO STIPULATED.

11
     Dated: April 26, 2019                                   MCGREGOR W. SCOTT
12                                                           United States Attorney
13
                                                             /s/ ROBERT J. ARTUZ
14                                                           ROBERT J. ARTUZ
                                                             Special Assistant U.S. Attorney
15

16
     Dated: April 26, 2019                                   /s/ CHRISTINA SINHA
17                                                           CHRISTINA SINHA
18                                                           Assistant Federal Defender
                                                             Counsel for Defendant
19                                                           Monica Nunes

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      STIPULATION                                        2
               Case 2:19-mj-00050-EFB Document 8 Filed 04/29/19 Page 3 of 4


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:19-MJ-00050-EFB
12                                 Plaintiff,             FINDINGS AND ORDER EXTENDING TIME FOR
                                                          PRELIMINARY HEARING PURSUANT TO RULE
13                          v.                            5.1(d) AND EXCLUDING TIME
14   JONATHAN WARD and                                    DATE: May 3, 2019
     MONICA NUNES,                                        TIME: 2:00 p.m.
15                                                        COURT: Hon. Allison Claire
                                  Defendants.
16

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18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on April 26, 2019. The

20 Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.

27 / / /

28 / / /

      [PROPOSED] FINDINGS AND ORDER                        1
                Case 2:19-mj-00050-EFB Document 8 Filed 04/29/19 Page 4 of 4


 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1.      The date of the preliminary hearing is extended to May 31, 2019, at 2:00 p.m.

 3         2.      The time between May 3, 2019, and May 31, 2019, shall be excluded from calculation

 4 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 5         3.      Defendants shall appear at that date and time before the Magistrate Judge on duty.

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 7         IT IS SO ORDERED.

 8 Dated: April 26, 2019

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      [PROPOSED] FINDINGS AND ORDER                    2
